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                                                                           September 19, 2022

Submitted via ECF

Magistrate Judge Alex G. Tse
San Francisco Courthouse
Courtroom A - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

       Re:    Joint Letter Brief re: Google’s Objections to Certain Requests for Production
              Rodriguez v. Google LLC, Case No. 3:20-cv-04688-RS (N.D. Cal.)

Dear Magistrate Judge Tse:

        Plaintiffs and Google LLC (“Google”) submit this joint letter brief regarding Plaintiffs’
request for an order compelling Google to produce certain damages-related documents in response
to Plaintiffs’ RFP No. 259. Counsel for the parties met and conferred in good faith, including by
videoconference on July 26, July 28, August 9, and August 18. Exhibit A is Plaintiffs’ proposed
order and, Exhibit B is Google’s proposed order. Exhibit C is a copy of Google’s Responses and
Objections to the disputed Request for Production.
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                                 PLAINTIFFS’ STATEMENT

       Plaintiffs respectfully seek an order compelling Google to produce documents responsive
to Request for Production 259, which seeks damages-focused documents, including data.

       Chief Judge Seeborg denied Google’s motion to dismiss Plaintiffs’ claims for invasion of
privacy, intrusion upon seclusion, and violation of the CDAFA (Dkt. 109), and the Ninth Circuit
has recognized that unjust enrichment damages are available for these claims. In re Facebook, Inc.
Internet Tracking Litig., 956 F.3d 589, 599 (9th Cir. 2020) (holding that the plaintiffs who asserted
the common-law and CDAFA claims would be “entitled … to profits unjustly earned” from
defendant’s alleged “unauthorized use of their [browsing] information”). Consistent with that
Ninth Circuit precedent, Plaintiffs seek production of documents and data regarding all of the ways
in which Google enriched itself by collecting, saving, and using of WAA-off data.

        Discovery has demonstrated that Google collects WAA-off information despite knowing
that users don’t expect Google to do that. As summarized by Google employee Chris Ruemmler:1

       Isn’t WAA off supposed to NOT log at all? At least that is what is implied from
       the WAA page. So, if WAA is off, how are we able to log at all?

        A Google presentation from April 2020 regarding an internal study of users’ understanding
of the WAA setting yielded unequivocal results: “All participants expected turning WAA toggle
off to stop saving their activity.” GOOG-RDGZ-00152000 (emphasis added).2 And “WAA must
be on for sWAA to be on.” GOOG-RDGZ-00061316.

        Discovery has also shown that Google uses WAA-off data to enrich itself. For example,
Google admits that it uses WAA-off data for “conversion tracking”—i.e., tracking whether an
advertisement successfully moves a user to do something, like make a purchase—as well as “ad
targeting.” Google’s Resp. to Interrog. 15. In fact, there are so many “downstream users” of WAA-
off data that Google claims it would “not [be] practical . . . to account for every single potential
data source (including logs) that may contain [WAA-off] data.” Google’s Resp. to Interrog. 14.

        With RFP 259, Plaintiffs seek documents “relating to any efforts by Google to study,
analyze, or quantify the financial benefit to Google from collecting, saving, or using information
from users’ activity on non-Google websites or apps.” Google routinely conducts financial
analyses to assess revenues associated with particular Google features, including WAA, and
Plaintiffs reasonably seek documents and data relating to those efforts. Public filings in another

1 See GOOG-RDGZ-00130381 (citing disclosures relied on by Chief Judge Seeborg in Dkt. 109).
Google opposed Plaintiffs’ motion to compel documents from Mr. Ruemmler’s files, representing
that “There is no reason to believe a broader search of Mr. Ruemmler’s e-mail will yield relevant
documents.” Dkt. 155 at 5. Google was plainly wrong.
2 Google produced this document in late July from the files of Eric Miraglia and Greg Fair, whose
documents Google also objected to producing. Google sought to withhold Mr. Miraglia’s
documents because he is “too removed from the issues in this case to have relevant documents”
and claimed that Mr. Fair’s documents “would be duplicative or of marginal relevance.” Dkt. 155.

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case show that Google conducted “extensive financial modeling” to measure how a change to
Incognito mode “would reduce Google’s advertising revenues.” Brown v. Google, Case No. 4:20-
cv-03664, Dkt. 643-2 at 14-15. Google also modeled revenues generated from WAA-off data: “We
are modeling out the financial impact of changes to user privacy controls . . . For example: if 25%
fewer users opted-in to WAA, what would be the financial impact?” GOOG-RDGZ-00117919;
see also Monsees Tr. (“I believe that the ads team has the ability to run [revenue] experiments.”).
At the very least, these analyses measure activity in the same category as the misconduct in this
case: collection of (purportedly) unidentifiable data from users’ activity on non-Google properties.
Plaintiffs are entitled to discovery into those analyses and how they were conducted.

           1. The Financial Analysis Addressed in Brown

        Plaintiffs seek limited discovery into Google’s analysis of the revenue it derives from
Incognito traffic. These documents may shed light on the methodologies that Google’s financial
team uses to quantify revenues attributable to Google’s collection of purportedly non-identifiable
data from users’ interactions with non-Google properties. That is the exact same exercise that
Plaintiffs’ experts seek to engage in here. Google unfairly criticizes Plaintiffs for not identifying a
specific “factual contention” about the analysis, which of course has not yet been produced in this
case. Google also conveniently fails to mention that Google Analytics is relevant to both cases.

        Google’s objections to producing the financial modeling analysis addressed in Brown read
like a Daubert motion—not a discovery brief. Google, in effect, is seeking to exclude opinions
that Plaintiffs’ experts have not even had the opportunity to develop, primarily because Google is
withholding these documents. Google’s lawyers do not get to decide whether a financial analysis
is “relevant” to Plaintiffs’ damages in this case. If Plaintiffs’ experts rely on these analyses in
constructing a damages model, and if Google remains of the belief that these analyses cannot
support a damages model, then Google may file a Daubert motion in due course. But Google’s
say-so regarding relevance is not a valid reason to withhold discovery. Courts “reject defendants’
attempt[s] to unilaterally designate [] documents as irrelevant.” In re Subpoena to PayPal
Holdings, Inc., 2020 WL 3073221, at *4 (N.D. Cal. June 10, 2020) (Tse, M.J.).

        Plaintiffs are also tired of Google’s empty rhetoric regarding the Protective Order.
Plaintiffs have relied only on public information, and any attorney worth their salt would be aware
of the million-dollar sanction imposed on Google—in which this analysis featured. Brown Dkt.
593-3 ¶¶ 24-25. There is no basis for Google’s offensive suggestion that Plaintiffs’ attorneys made
the existence of the analysis public to evade the Protective Order. Even setting aside the right of
public access, Google itself filed an expert report discussing it. Brown, Dkt. 666-23 at 31-56.

       Plaintiffs’ request involves zero burden, and Google does not suggest otherwise. Google
should make the limited requested production and save its “relevance” arguments for later.

           2. Financial Analyses That Measured Revenues Attributable to WAA-Off Data

        Plaintiffs reasonably seek any study that bears on the value of WAA-off data, including
studies that went beyond Google Analytics or even studies of web traffic, so that Plaintiffs’ experts
may assess Google’s methodologies and, if appropriate, adjust and use them. If Google has already
done that work, even in distinct but similar contexts like web analytics, Google should produce it.


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         The documents reflect that Google has, in fact, conducted relevant analyses. For example,
in connection with a WAA-off revenue analysis, one Google employee asked about “the best way”
to identify and “exclude app traffic from ads logs” (data relevant here), and another confirmed that
Google can filter data to “get only web traffic.” GOOG-RDGZ-00159387. This document
illustrates that an analysis relating to a different scenario may still be highly useful for a damages
model here. If one can exclude data before conducting analysis, one can also isolate it and subject
it to the same analysis. “[T]he fact that the requested valuation documents might incorporate
information not pertinent to a damages calculation . . . does not offset the relevance of other
responsive information contained in those documents.” PayPal Holdings, 2020 WL 3073221, *3.

        Google objects to producing or even identifying any financial analysis unless it is focused
narrowly on revenues associated with WAA-off data collected via Google Analytics for Firebase.
But Plaintiffs’ allegations are not so limited, and regardless, other analyses may prove helpful for
reasons already explained. Once again, Google’s say-so relevance objection is better suited for an
expert report or a Daubert motion, not a discovery brief. Google should be required to diligently
search for all WAA-off financial analyses and produce anything it finds.

         Finally, Google incorrectly suggests that it produced the analyses discussed in the above
Bates-stamped documents. Not so. Google claimed that this specific analysis was not carried
through to completion, and it has not agreed to produce whatever analysis was done. Instead,
Google committed to producing (but has not yet produced) an analysis not focused on WAA-off
traffic. If there is no WAA-off financial analysis, then Google should say so. But it tellingly hasn’t.
Such analyses clearly exist, and Google should produce them.

                                   GOOGLE’S STATEMENT

        This case is about whether an analytics service that Google provides to third party app
developers (“Firebase”) violates the privacy of the apps’ users. An app’s use of Firebase is
disclosed to users. But Plaintiffs claim that if some of the app’s users are also Google account
holders who have disabled a Google account “Web & App Activity” setting, Google cannot use
the data from their devices sent by the third party app. While convoluted, this much is clear: WAA
is only relevant to this case when it is “off” and to the extent it relates to Firebase or Firebase’s
integration with AdMob and Cloud Messaging.

         Years into discovery, Plaintiffs are where they started, having discovered mountains of
evidence that what Google told them in its first interrogatory response was accurate: When a user
turns off WAA, Google de-identifies the data and Google policies forbid any rejoining of it with
the user’s identity; by contrast, if the user turns WAA on and other conditions are met, Google
will associate certain data with the user’s identity. Contrary to Plaintiffs’ allegations, when a user
turns WAA off, Firebase does not personally identify the users of third party apps when measuring
the users’ interactions with the apps. Indeed, the bulk of Plaintiffs’ letter brief is not a request at
all, but a narrative attempt to color the Court’s view of the merits of this case with out-of-context
quotations from documents written by people who either weren’t talking about anything related to
this case, or who were asking questions and seeking answers to ensure Google was following its
principles and respecting user privacy.

       Plaintiffs seek damages-related documents, but Google has not resisted producing such


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documents. In response to RFP 259, Google conducted a reasonably diligent search for documents
“relating to any efforts by Google to study, analyze, or quantify the financial benefit to Google
from collecting, saving, or using information from users’ activity on non-Google . . . apps” when
those users have turned WAA off. The results of Google’s search yielded some documents, and
Google produced them to Plaintiffs. Plaintiffs then asked follow-up questions, prompting Google
to produce yet more documents. That includes information concerning each purported analysis
Plaintiffs identify above by Bates number. And Google is in the process of producing two more
documents that discuss the value of Google Analytics for Firebase to the company.

        But Plaintiffs aren’t satisfied with what Google produced. Knowing they cannot attack the
reasonableness of Google’s search, Plaintiffs’ counsel borrow from information they know solely
as a result of their role as Plaintiffs’ counsel in the co-pending Brown v. Google case, asking for a
specific financial study that has nothing to do with this case. In meet-and-confer calls, Plaintiffs’
counsel made clear their intention to provide the study to their damages expert (who also provided
an expert damages opinion in the Brown case) so he can argue that the financial impact considered
by that study can be analogized to a measure of unjust profits obtained by Google as a result of the
unrelated, allegedly wrongful conduct in this case. But Plaintiffs know their expert cannot lawfully
use the document here without a Court Order relieving them of their obligations under the
protective order entered by a different judge in Brown.

        As excuse for this manipulation of the protective order in the Brown case, which forbids
Plaintiffs’ counsel (as the model protective order in this District does) from using confidential
information they obtain in that case to prosecute a separate, unrelated case (such as this one),
Plaintiffs offer up a single sentence from a public filing that references the study they’re after:




Brown, Dkt. 643 at 15.

         Plaintiffs’ counsel did not happen to read this public excerpt in the Brown class
certification motion and wonder if that might be relevant in this case, and so requested it. They
wrote this excerpt of the class certification motion in Brown, and then, after writing it, told
Google that since the existence of the document is now public (thanks to their public reference to
it in this filing), they have every right to seek it here. Google has steadfastly raised the risks of
having the same counsel and experts in both cases. Here, Plaintiffs found an unrelated study that
they like, and now want to use that here, whether it’s relevant to this case or not.

        And, to be clear: the study isn’t relevant. This has nothing to do with whether a damages
expert could reasonably rely on it under Daubert; it simply isn’t relevant, and would never be
produced in this case, but for the coincidence that Brown is co-pending in this District with the
same Plaintiffs’ counsel.


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        In Brown, the plaintiffs allege that Google unlawfully collects information from Chrome
browsers through cookies when users have engaged Incognito, or “private browsing,” mode on
the browser. WAA plays no role in that case. Nor does Android, iOS, any other mobile devices,
Firebase, or Google Analytics for Firebase.3 Plaintiffs do not dispute this. The study measured
what would happen if a particular type of cookie were blocked from working in Incognito mode.
Plaintiffs’ portion of this letter brief contains no argument that such a hypothetical is relevant to
this case, because it’s clearly not. And regardless of whether this document was produced in
Brown, if this document would have been reviewed in this matter because of a search term hit
(which it was not), Google would have excluded it from production on the basis of non-
responsiveness, because Google has never agreed to produce irrelevant financial analyses and
Plaintiffs never moved to compel such a broad scope of discovery.

        The sole justification Plaintiffs offer for demanding production of the study is not that it’s
relevant, but that the study “may shed light” on how Google values the “collection of purportedly
non-identifiable data from users’ interactions with non-Google properties.” This phrase hides a
multitude of false equivalencies. First, “may shed light” is not the relevance standard. Plaintiffs
cannot identify a factual contention that is more or less likely to be true based on the contents of
the Brown study (which they have already read, so they should be able to identify one). Second,
how much money Google makes from third party cookies on web browsers is fundamentally
different from whether and how much money Google makes from Google Analytics for Firebase,
which exclusively deals in users’ activity on third party apps on Android and iOS devices, not
the web. Third, Plaintiffs are analogizing the blocking of a third party cookie to turning off
WAA, but those are not analogous, either, for many reasons.

        Nor do Plaintiffs justify their broader request for all WAA-related analyses generally,.
Unsatisfied with the studies Google produced that do focus on the value of Firebase data to the
ads business, Plaintiffs argue that Google should find all financial analyses that might touch on
“WAA-off” data, i.e., data Google receives from anyone on any platform when a user might
have WAA turned off, even though this case is limited by Plaintiffs’ complaint and Judge
Seeborg’s orders to Google Analytics for Firebase and its integrations with AdMob and Cloud
Messaging. This Court should reject this broader, vague request for damages-related documents
because Google already conducted the search it needed to conduct, and produced what it found,
whether that helps Plaintiffs’ damages case or not. See, e.g., Caliper Techs. Corp. v. Molecular
Devices Corp., 213 F.R.D. 555, 561 (N.D. Cal. 2003) (denying motion to compel financial
documents that had “little or nothing to do with the technology” at issue in patent infringement
case); Sound View Innovations, LLC v. Hulu, LLC, No. CV174146JAKPLAX, 2018 WL
6164271, at *2 (C.D. Cal. June 12, 2018) (narrowing request for patent licensing agreements to


3 Plaintiffs’ portion of this letter accuses Google of misleading the Court by failing to disclose
that Brown involves Google Analytics. But this case is about Google Analytics for Firebase, a
mobile operating system SDK; it has nothing to do with Google Analytics, a web analytics
service. Web Analytics has never been in scope for discovery in this case. It is Plaintiffs who are
misleading the Court by playing word games. Likewise, Plaintiffs’ attempted victory lap
regarding Mr. Ruemmler’s documents falls flat—they leave out that Mr. Ruemmler spent hours
explaining at his deposition that the documents Plaintiffs believe are so relevant were discussing
completely unrelated products and circumstances that have no probative value here.

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those involving the accused technology only).


Respectfully,



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                                       ATTESTATION


       I, Mark Mao, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to

the filing of this document has been obtained from each signatory hereto.




 DATED: September 19, 2022                           By:     /s/ Mark Mao




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